           Case 18-54693-lrc Doc 15 Filed 04/11/18 Entered 04/11/18 07:31:51              Desc
                           Dismissal on Order Denying App Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                     Northern District of Georgia
                                          Atlanta Division



In Re: Debtor(s)
       Willie Anthony Thomas                                     Case No.: 18−54693−lrc
                                                                 Chapter: 13




           ORDER OF DISMISSAL REGARDING UNPAID FILING FEES


       On Mar. 20, 2018. the Court entered an Order denying Debtor or Debtors (hereinafter
"Debtor") application to pay the filing fee for the voluntary petition in installments. Debtor was
allowed seven days to remit the full amount due for the filing fee for a voluntary petition. The Debtor
did not remit the necessary funds. Accordingly, it is


       ORDERED that the above−styled case is dismissed.
      The Clerk is directed to serve a copy of this Order on Debtor, Debtor's counsel, any Trustee,
and all creditors.


       SO ORDERED, on          April 11, 2018




                                                                 Lisa Ritchey Craig
                                                                 United States Bankruptcy Judge



Form 311
